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                                                                                      United States District Court
                                                                                        Southern District of Texas

                               UNITED STATES DISTRICT COURT
                                                                                           ENTERED
                                                                                       September 16, 2021
                                SOUTHERN DISTRICT OF TEXAS
                                                                                        Nathan Ochsner, Clerk
                                     MCALLEN DIVISION

UNTED STATES OF AMERICA,                            §
                                                    §
             Plaintiff,                             §
VS.                                                 § CIVIL ACTION NO. 7:20-CV-00405
                                                    §
3.055 ACRES OF LAND, MORE OR                        §
LESS, et al,                                        §
                                                    §
             Defendants.                            §

                                      ORDER OF DISMISSAL

        The Court now considers Plaintiff’s “Notice of Dismissal Pursuant to Fed. R. Civ. P.

71.1(i)(1)(A).” (Dkt. No. 95). Pursuant to Federal Rule of Civil Procedure 71.1(i)(1)(A), if no

compensation hearing on a piece of property has begun, and if the plaintiff has not acquired title

or a lesser interest or taken possession, the plaintiff may, without court order, dismiss the action

as to that property by filing a notice of dismissal briefly describing the property. Since no

compensation hearing on a piece of property has begun and Plaintiff has not acquired title or a

lesser interest or taken possession, Plaintiff has dismissed the action and no further action by this

Court is necessary.        Thus, the Clerk of the Court is instructed to close the case. Pursuant to

Plaintiff’s Notice of Dismissal Pursuant to Fed. R. Civ. P. 71.1(i)(1)(A), IT IS HEREBY

ORDERED AND ADJUDGED, that:

        This matter in reference to Tract No. RGV-RGC-2038 is now DISMISSED without

prejudice.

        SO ORDERED this 16th day of September, 2021, at McAllen, Texas.


                                                    ___________________________________
                                                    Randy Crane
                                                    United States District Judge
1/1
